8:02-cr-00433-LES-TDT    Doc # 92   Filed: 12/04/06   Page 1 of 1 - Page ID # 255



               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:02CR433
                              )
          v.                  )
                              )
RALPH BENFORD,                )                       ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion

for dismissal (Filing No. 91).        The Court finds said motion

should be granted.      Accordingly,

          IT IS ORDERED that plaintiff’s motion for dismissal is

granted; the indictment as it relates to defendant Ralph Benford

only is dismissed without prejudice.

          DATED this 4th day of December, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
